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                                              No. 18-1483

                              UNITED STATES COURT OF APPEALS
                                   FOR THE SIXTH CIRCUIT

                                                                                  FILED
GANIYU A. JAIYEOLA,                                         )               May 16, 2018
                                                            )           DEBORAH S. HUNT, Clerk
       Plaintiff-Appellant,                                 )
                                                            )
v.                                                          )      ORDER
                                                            )
TOYOTA MOTOR MANUFACTURING NORTH                            )
AMERICA, INC., et al.,                                      )
                                                            )
       Defendants-Appellees.                                )
                                                            )




       Before: SUHRHEINRICH, GILMAN, and SUTTON, Circuit Judges.


       This matter is before the court upon initial consideration to determine whether this appeal
was taken from an appealable order.
       By order entered on April 11, 2018, the district court denied Ganiyu A. Jaiyeola’s motion
to join parties, motion for a protective order, and emergency motion for a stay of scheduled
depositions. On April 24, 2018, Jaiyeola appealed the April 11 order.
       This court may exercise jurisdiction only over final orders, 28 U.S.C. § 1291, and certain
interlocutory orders and collateral orders, 28 U.S.C. § 1292; Cohen v. Beneficial Indus. Loan
Corp., 337 U.S. 541, 545-46 (1949); see also Anderson v. Roberson, 249 F.3d 539, 542-43 (6th
Cir. 2001).    The order that Jaiyeola seeks to appeal is not a final order, an appealable
interlocutory order, or a collateral order.
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Accordingly, it is ordered that the appeal is DISMISSED for lack of jurisdiction.


                                     ENTERED BY ORDER OF THE COURT




                                     Deborah S. Hunt, Clerk
